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 4
 5   Attorney for Kirk Sanderson

 6
 7                               UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                         CR. No.: 13-144 JAM

11                  Plaintiff,                         DEFENDANT KIRK SANDERSON’S
12                                                     REQUEST TO EXONERATE BOND
             vs.
13
     KIRK SANDERSON, et al.,
14
15                  Defendants.
16
17           Defendant, Kirk Sanderson, by and through his attorney, Clemente M. Jiménez,

18   hereby requests that the secured bonds authorized for Mr. Sanderson’s pretrial release be

19   exonerated and that any collateral obligation for which the property was used be discharged.

20           On May 10, 2013, the Court received a Deed of Trust from Julius A. Jackson and
     Marylus E. Jackson as security for Defendant Sanderson’s release. Additionally, on May 23,
21
     2013, the Court received as security a Deed of Trust from Loretta K. Kirk and Charles E.
22
     Kirk.
23
             On October 15, 2014, Mr. Sanderson was remanded into custody. On November 14,
24
     2014, his pretrial release was revoked. He was sentenced in this case on March 24, 2015.
25
             Mr. Sanderson hereby requests that the court exonerate the secured bonds posted in
26
     connection with his release in this case.
27
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 1   DATED: February 25, 2016
 2                                      _/s/ Clemente M. Jiménez __________________
 3                                      CLEMENTE M. JIMÉNEZ
 4
 5
 6
 7
                                              ORDER
 8
            IT IS SO ORDERED that the secured bonds posted as collateral to secure Mr.
 9
     Sanderson’s release are hereby exonerated.
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11
12   DATED: 2/29/2016

13                                      /s/ John A. Mendez ___________
                                        Hon. John A. Mendez
14
                                        United States District Court Judge
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